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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




  IN RE: MCCORMICK & COMPANY,
  INC., PEPPER PRODUCTS MARKETING
  AND SALES PRACTICES LITIGATION

  _____________________________________                    MDL Docket No. 2665
                                                          Misc. No. 15-1825 (ESH)
  This Document Relates To:

  ALL CONSUMER CASES




                                            ORDER

       Having considered McCormick’s motion to dismiss the Second Amended Consolidated

Class Action Complaint, ECF No. 132, and Wal-Mart’s motion to dismiss Count One, ECF No.

134, for the reasons stated in the accompanying Memorandum Opinion (to be filed under seal), it

is hereby

       ORDERED that McCormick’s motion to dismiss the Second Amended Consolidated

Class Action Complaint, ECF No. 132, is GRANTED as to Count One; it is further

       ORDERED that Wal-Mart’s motion to dismiss Count One of the Second Amended

Consolidated Class Action Complaint, ECF No. 134, is GRANTED; it is further

       ORDERED that Count One is DISMISSED WITH PREJUDICE; it is further

       ORDERED that, consistent with the Court’s Memorandum Opinion, June 13, 2017, ECF

No. 145, the Court will unseal the Memorandum Opinion supporting this Order in unredacted

form on June 28, 2017, unless defendants make objections by June 21, 2017. If defendants file

objections, any response by plaintiffs is due on or before June 26, 2017. It is further

       ORDERED that a status conference is set for 11:30 a.m. on July 12, 2017, in
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Courtroom 23A; and it is further

       ORDERED that plaintiffs shall file their motion for class certification by July 14, 2017,

defendants shall file their responses by August 21, 2017, and plaintiffs shall file their reply by

September 11, 2017.



                                                      /s/   Ellen Segal Huvelle
                                                      ELLEN SEGAL HUVELLE
                                                      United States District Judge

Date: June 13, 2017
